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                                                                                                                          ;(   L;H<=.iMi J^

     A0^42 (Rev.09/17) Petitionfora WritofHabeasCorpus Under28U. S. C. § 2241                                  T;M;:., A^£:

                                          UNITEDSTATESDISTRICTCOURT                                                    DECTT
                                                                           for the
                                                                                                           RICHARD W. NAGEL, Clerk ofCourt
                                                                                                                       COLUMBUS, OHiO
                                                                              )

        ^^Lo+tt^-. jU^Co ^ (fttj^l ^Y&u. ^,- OF?^-
                       Petitioner
                                                                              )

           M 0 ,^£T-A      C- -TUS TCC& , A^t-B. I ,                          )
                                     V.
                                                                                      Case
         'Vc<.Alks; \)i^d. ^^ , -<L\-<J>. ^                                   .)                                   ia-
           FP.AVK'LL^/       Cui. <~A^T^ J~(+t?12-rPF^                        )
                                                                              )
                   Of-PSLE., ju^-e<-<,
                                Respondent                                                                rJudgeGr^^
     (name ofwarden orauthorized person having custody ofpetitioner)                                   lyiAGiSTRATE JUDGEVASCURA
                            PETITIONFORA WRITOFHABEASCORPUSUNDER28U.S.C.§ 2241
                                                               Personal Information

 1.
              (a) Yourfullname: <. -
                                   , ^^ -^^^^ hc^
 2.
              (b) Othernamesyouhaveused: __^,. u^^_. i.,d.u^^... c^ -^-                                    {U. I ni.
              Place ofconfmement:

             (a) Nameofinstitution: -^EIA^LT.^^./TV^^^^ C£^T^JT
             (b) Address:                 2^o ^^^                       (?^
                                             U[. u. ^>^\,   G ki   t.   US 22 J>
             (c) Your identificationnumber:
3.
                                                                   <7o 2-o^oo^-^<-to3l/
             Are you currently being held on orders by:
             0 Federal authorities      ^ Stateauthorities                         0 Other- explain:

             Are you currently:
            ^A pretrial detainee (waitingfortrialoncriminal charges)
            0 Servinga sentence(incarceration,parole,probation,etc.) afterhavingbeenconvictedofa cnme
               Ifyou are currentiy serving a sentence, provide:
                      (a) Nameandlocationofcourtthatsentencedyou:

                      (b) Docketnumberofcriminal case:
                      (c) Date ofsentencing:
            0 Being held on an immigration charge
            O Other (explain):




                                                   Decision or Action You Are Challenging
5.          What are you challenging in this petition:
            OHowyoursentenceisbeingcarriedout,calculated,orcreditedbyprisonorparoleauthonties(forexample,
              revocation or calculation ofgood time credits)


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 AOS242(Rev.09/17) Petitionfora WritofHabeasCorpusUnder28U. S. C.§ 2241
          J^Pretrial detention
          0 Immigration detention
          0 Detainer

          ailievalidityofyourconvictionorsentenceasimposed(forexample,sentencebeyondthestatutory
            maximiun orimproperly calculated underthe sentencing guideUnes)
          0 Disciplinary proceedings
          0 Other (explain):



          Providemore information aboutthedecision oractionyouarechallenging7
          (a) Nameandlocationoftheagencyorcourt: ^^ ^^ ,, ^ FP^KL^ ^.^ o /tr0
                3^ _S^«- , (^^L, J^^t: (^ (k^.bi. s_, O.H_ ysz^e-
          (b) Docketnumber, casenumber, oropinion number:  ftZo- eft. - o 34^
          (c) Decisionoractionyouarechallenging(fordisciplinaryproceedings,specijythepenaltiesimposed)-.
                    lh-^ ^ CiVtI ri,an-<»»j;.~»^e,-ic^ 'p.i^JI-eU/zLer' -F/z/rty c-(t<A NM.$i ?-?'-( tyirt. Ps^vRA-rE (\
                  T   <   -   /i ^ r   -^H.     /   /.     ^    ^    - /                  \^

               {-/UA/I^U-A/ C^WT^ Ql^cu g^ ^ i^v/w^ For- cv-n fc«-t4-^ j , fJt<<-j2                               ;wb
                Ctt-t*. ^- (^ &ii-,fli£in. (<_ ^t^rL tLs LtK ^-tui^n*^                                                  ac<J Lk. l^llc+           ^ -c:^..^^-^       Gl
         (d) Dateofthedecisionoraction:^ t,^, ^r^^^ ^T^zC^^^^-^^^
                          r^!4 ^>. -10^ ^^ 1^^^. AV<^-A^ ^^^-^_^^l^j!^~^\^^^'^^~
                                                                    .. inc, rffl.p? US^-/)+<»^>».';' 0 ''y.-.x.
                                      Your Earlier Challenges of the Dec ision or^tioT" li'                 ^-                                       z



7.       First appeal
         Did you appeal the decision, file a grievance, or seek an administrative remedy?
         ^ Yes                 a No
         (a) If "Yes;'provide:
                  (1) Nameoftheauthonty,agency,orcourt: _(Q «-^^fc-LL^TE ^^r F^^KLI.^
                                               _CoL(A/?i_QM-Eu
                  (2) Dateoffiling:                                  (((jcjzx^
                  (3) Docketnumber, casenumber, oropinion number:                                                              fi:^ ^ - 4P s~j-2_
                  (4) ResultL ^^ Cj^ {g^^ ^^lu^ r^ ^ <^^^c/zfc^<b. <^^,
                                                                     s<c>^^cie<SL
                  (5) Dateofresult:                                  (^ / 3 s J ^^^
                  (6) Issues
                           raised: _ C^h^^_^^ ^-_. « ^^W^'^^c'Z^i
                        i-^ K. .h,                   Ui
                                                                  A _ Lwr^_^-^^^^^^
                                                                L&   nj-          -rt-»        <ih^     o4-       i't   rabL   fiLe.kR    K   di^Ko-t.   -I^W!T..   ^^ *^. z^^.
                                       cyz&er' ti^ tuc^ e^^uKyJ, U^r ais^ 1^, ^ ui^S                                                             H.                            /^^'
                                              -+1
                                                    cLc^k-^a               fa.
                                                                                 bil(^ .        ip
                                                                                                     up,-z-4«.   AJ     COKIM^     Co,
                                                                                                                                     --

                                                                                                                                          dA Jei^K




        (b) Ifyouanswered"No," explainwhyyoudidnotappeal:


8.      Secondappeal
        Afterthefirstappeal, didyoufile a secondappealto a higherauthority, agency, orcourt?
      ^Yes                                               0 No

                                                                                                                                                                       Page 3 of 9
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 AO^42(Rey.09/17) Petition fora WritofHabeasCorpusUnder28U. S. C. § 2241
          (a) If "Yes, " provide:
                    (1) Nameoftheauthority,agency,orcourt:                              Q[4^, ^f( p ^ j?^ ^- C^fO-
                   (2) Date of filing:             F^ru^-^_               (l<. , -2^,^
                                                                                    ^


                   (3) Docketniunber,casenumber,oropinionnumber:                                         U 7 /~ 2-Z^"
                        Result:_           Oir/^iH^ &f ^,vr<h'4u. KG^il4 ^ ^^..i7^^^
                   (5) Dateofresult: ____A^r^_^ , ^^~r- ^ ^- ^ - -- - -- - - _-
                   (6) I^uesraised: _C^^t^_^. j;U ,to^^^ u.^ ^ _^^ ^
                        AA^^^A^^_ fe-<^ ^ - ^^^^ _^AH. _i.^k.l^^
                          <<. u^hr, -^^ C-cr- i^rr«. s+, e..^^. iC?u-&A- K^Aii-. - P.'z.'^-^i^ Lu.tLi-e- i)..: cz'^(>7
                            -JiVT- K-( 4.K -^-hjti-JiiuiL^. A-^i>,-l^^                         CiT(. >i~iAfJ (
                           - _ck<vv_r ._^^ b^^c&_ c^ _ ^it ^l^, _iv ^(^ c(^4«^ <ir ^ (~c^(^ c ^ . ^^
                               U i^lo. ^'iriJ>. t^J<u-i^l»J<-(A^' F-tt(c£ C t-6<ij<^l? <A^ "^. f, 2| . 2-62-0                         P/UL4- C ^
                                 +v««^ A ^ i.-^t.y
                                                ^A- Fl^La.
                                                     i^-i-a. o^7j7liey
                                                             o^-fli plie ? ,
                                                             i               0 r'JLij
                                                                             U r»U
                                                                                                                                                                 ^ iff w.
         (b) Ifyouanswered"No," explainwhyyoudidnot
                                                not file
                                                    file a second
                                                           second appeal-



9.       Third appeal
         Afterthesecondappeal,didyoufilea thirdappealtoa higherauthonty, agency,orcourt?
        I^Yes                        0 No
         (a) If "Yes, " provide:
                  (1) Nameoftheauthority, agency,orcourt:                           P£c6,^-^ 'COQA-T' ^(LiA^r^ 6-ou^TY
                          6U-TP
                  (2) Dateoffiling:          L^u ^^,^..^, 7., <
                  (3)   Docket   number,    case   number,   or       opi nion number:                   ^ /n 7 ( y        ^-c/
                  ^
                  (5)
                      ^LU h^^^. 7d<&'AJT^"'^-^^
                                   Al^L^ 1J
                        Date of result:
                                             ^Ll                                                        -V
                                                                                                             -


                                                                                                                 ^-    .
                                                                                                                           -.
                                                                                                                                  -   --.
                                                                                                                                            -,     -.-

                                                                 {.

                  (6) Issuesraised: _^Au^ R^^^ o^^ ,, -^ , ^ ^^^ c/^^^^^
                              c^"*^?tlix. i/(- u'\. rr<n. i-^- fy^r- e^mf+ e^-t-r^ . ^Q Utf'c.<n-Kj^- ^
                              Ji^-S^^-i-ti-          (<c   (i^e. II^K<.-L     cf-                eiyich. ^
                                                                                        <yn.
                                                                                                                 pt. vAti-. ^ t~L^p«. i|




        (b) Ifyouanswered"No," explainwhyyoudidnotfilea thirdappeal:

10.     Motion under 28 U. S. C. § 2255
        Inthispetition, areyouchallengingthevalidity ofyourconviction orsentence asimposed?
        a Yes                ^.No
        If "Yes, " answer the following:
        (a)       Haveyoualreadyfileda motionunder28U.S.C.§ 2255thatchallengedthisconvictionorsentence?
                 0 Yes                             0 No


                                                                                                                                                   Page 4 of 9
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 AO^2(Rev. 09/17) Petitionfora WritofHabeasCorpusUnder28U. S. C.§ 2241
                   If'Yes/'provide:
                   (1) Name of court:
                   (2) Case number:
                   (3) Dateoffiling:
                   (4) Result:
                   (5) Date ofresult:
                   (6) Issues raised:




         (b)       Haveyoueverfileda motionina UnitedStatesCourtofAppealsunder28U^S.C." §2244(b)(3)(A),
                   seekingpennissiontofilea secondorsuccessiveSection2255motiontochallenge"thisconvictTonor
                   sentence?

                  0 Yes                         ^[ No
                   If "Yes, " provide:
                   (1) Name ofcourt:
                   (2) Case number:
                   (3) Date offiling:
                  (4) Result:
                  (5) Dateof result:
                  (6) Issues raised:




         (c)      Explainwhytheremedyunder28U. S.C.§ 2255isinadequateorinefiFectivetochallengeyour-
                  conviction or sentence:




11.     Appeals of immigration proceedings
        Doesthis caseconcern immigration proceedings?
        0 Yes                     ^(No
                  If"Yes," provide:
        (a)       Date you were taken into immigration custody:
        (b)       Date ofthe removal or reinstatement order:
        (c)       Didyoufile anappealwiththeBoardofImmigration Appeals?
                  0 Yes                         0 No


                                                                                                       Page 5 of 9
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AO^42(Rev.09/17) Petitionfora WritofHabeasCorpusUnder28U. S. C.§ 2241
                  If "Yes, " provide:
                  (1) Dateoffiling:
                  (2) Case number:
                  (3) Result:
                  (4) Date ofresult:
                  (5) Issues raised:




         (d)      Didyouappealthedecisiontothe United StatesCourtofAppeals?
                 0 Yes                               0 No
                 If "Yes, " provide:
                  (1) Name of court:
                 (2) Date offiling:
                 (3) Case number:
                 (4) Result:
                 (5) Date of result:
                 (6) Issues raised:




12.     Otherappeals
        Otherthantheappealsyoulistedabove, haveyoufiledanyotherpetition, application, ormotion abouttheissues
        raised in this petition?
       J^LYes                            a No
       If"Yes," provide:
        (a) Kindofpetition,motion,orapplication: P<H^ ^^ ^^^ , ^ ^^, ^^^_,
        (b) Nameoftheauthonty,agency,orcourt: _^^S^^TA^^_Oc3rr^T\c^T'      JcaT7^i7
                           O.CSTTZTCT 0\P 6H-TO
        (c) Date of filing:
        (d) Docketnumber, casenumber, oropinion number:
                                                                                      2>-2L(-Cl/'- 05S5-V
        (e) Result                _^l. ciciL^S ^^SUr ^ZSH a d^^^j ^^ ^Ju^ 4^ cy:i<                                         ^.f- S'^f^
        (f) Date ofresult:           "       loj^. y/'zj
        (g) Issues raised:
                                         - C^^-AAII-^ .AI<EL oA ^_K ?^p<^el£ _p/i_13<^<-^rrfe'--'. _6LJ__AA<<v^-L-^-Jcf
                  &r/^i^ e^^K^                   ^oit^ht^-e^     tuj    o^-     ii^ -itt^^r^J    '
                                                                                                     Cf^we-^-unSLe.   ^'    11^   aL.   «i^..2
                   A^-^ -^&U^(^»'A- -t-o e^ikr- /s 4<t.. <i. n. (4_ Ufff^e^- < t//<- jhuLi-^fl-viJ^
                                                                                                                                  ^
                    _t^irr-^U-             gjik^     l^ykJ     -f^^e.         5'A-i>rfo^^n.                                   -^ b        A]   t-
                    .
                        *?gU<fi      .
                                         fT_- -Wu; ^AJC oj- 5<i^ p.zlpt'-i^ k.'ztn-                   ^
                                                                                                                                               ^
                           -6^ -^'^ ~>t , 2£U as (-(- ey<[                                             j- k/k_a.
                                             «-<-*l»>-T, (-»-^i_ vi, J<-((~ c(efani-<L >>--     ^j^r^^ivss nacrcil t-T            fi.-z^^.-
                             ^-'ci-i.A' W<<^ ^ OtLt-. p^M.^.
                                                                                                                                          Page 6 of 9
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                                                       Grounds for Your Challenge in This Petition
13.      Stateeveryground(reason)thatsupportsyourclaimthatyouarebeingheldinviolationoftheConstitution.
         laws,ortreatiesoftheUnitedStates. Attachadditionalpagesifyouhavemorethanfourgrounds. StateAe
         factssupportingeachground. Anylegalargumentsmustbesubmittedina separatememorandum.

           OTO NE:^-O^^La^-^^^^^^-rte1                                                                     ws-^^
        -ti v^h^L^  ^ -D _ <^^ tu, ^ b^_
                           acd .u^   ^ oCt. a.Y.tn^ ^. t-^tv^- ^ ^i, c( IL/,,^, ^ fi.y- 4^e^ db^ i^M.J
                                         OCLaT'n;'3.
            i^. AlA. \g.
           pT                     u.u    ^     (Lc^. ll^tK'fc     t^th_   l<K^hui^^<^_       r:^    s-^J                ^u             A         ^J
             cie'-Jl^ F^.Te^ ti dJ ^/<^^ -hu: Cz^ ?<'t<.<,-T(>, dcszis ^ !h^
         (a) Suppofting facts (Bebrief. Donotcitecasesorlaw.):
                _a^ 3k^Zl, Ztf?-o -S<i(J) rUapfr (He,^4tJl h ^teti                                                           y^                                     I-F
                (-<- iv«T- o^ \^Ama^              For ^.n^-i4- (JK*V-^.. M,, Qit^.f^ /M,rUr I,                                   ^.h'^J! ^+                         3(A
                C^^" (--/iskx-c^. p.-wr- +1, s~<?cii fo>^bl< et/r4-^.                          TL
                ^U ktM^iic^. ^Vtk^it-^ uunr^UrU^ etv.+v^. -S'Ln4-<                                                Jl ^ 4<   -t- +[£
                      n> t3»"\»   (vc^iic      !3-i ttet/' fi_£<S.
                                                v'lw'r     <L£n- <?^
                                                                   "^G"-^^            c/(. tT^^! f^li, ^^ , ( c^c^A ^ ^<^^ ^^t^^
                ic
                     : youpresent Crround Onein all appealsthatwere available to you?'                         i^. ^</- ^c+r, r< ^n^ J-y^t-c ,
        XYes                                  a No                                                             c^ ^y^.^                (« fSu^^


          OUNDTWO\ S«^ k^c^0y^-1 ^i .^^ue^^ e^^^ -^-T^^_ZI^^
           b^ i5ri<»n^v(d-»t^-' ^ d^wci uvirkbr-bi^^^^ ?( ^^L^LLLt ^'^p^e^X ^<
             Jp.^^tJ^ CnSjir                   nhaJtJ «. ) 14- f+ M^i/<,- cYfi-^Jl b-,
                                                                                    ^-
                                                                                       rM<- r
             d^evuLJ S'-l-.^cK^n (Z^^ MCA(£ v
        (a) Supportingfacts (Bebrief. Donotcitecasesor law.):
                          Or^br          \^        1   G<fi- ^-f^fcTLLAT^-          CotyzT FaA^VCLij^           Cou/^r^          o (^ro ^
            ET Z^>-A-(?-^S'Z                     £o>v^irrt7i e<oi4i-^»LA/a. /^ K.lh^(A <-i^^/>,                           h^f    £(   ^ut/i'c.
              FfLt^c? r^'jLLfs+ utrt- P^'G.-nE c-oi(ZT ^.Q. A^^L. L.^/ ^r,/i^n 6l^-rv_ c^A
                      <?Vfw. i~>anA^+


        (b) Didyou present Ground Two in all appeals thatwere available to you?
       °Yes                                   1^(No dt<0 >u+hTrCK/' i+^S e^i^i U^H\ t^AfPt^i-^-re'c^u v ^^P'^'i
      GROUND THREE:                           5-<, ^p. ^>, ^^^^'               (y^y    ^r^^ukJL ,      k- .   ^lc ^^-            ri   h.
                                                                                                                                           c^i^r       ^r


         &^^^^S_^, ^A<C_-^'V^C^. 6 ^__Tkltg 2L1 ,_Zd7.Q _^,L-^J^_t<^^<v_^.vo-^rirG^T^(*-,
           efl-'i^Y- . A p,-T, ^(.lTC O^UU- ^ ^o^ ^ kj^-r^L^- fc<~ «/yr(4- csT «K+ni ^
                                                                                     ()«.."!'M-(,.|^~ ^s H.
            fc<n- Av^i-J</u^
                               ^ pn   b^-^Le. , 5w^^iJti. ^-. S_v ni'i^\t»-i^i-
                                                                -cu..^-

       (a) Supporting facts (Be brief. Donot cite casesor law. ):
                                                                                CC
                                                                                         fn,^ t Ur^^
                                                                                                                             ^
            0 tV      LL
                   ^kwJaf-- ^^ 2ctQ _^ c((J? o^j-e.           i^   >^^(^. (,   4.
                                                                               d-    H< C^^h^eS. ^
                                                                                         ^


           <U ().-1>^.*'e L^eUr-c c.J- < '. 'p,T.> b^-^ ^.^r^^1'. A^ .li IKIt+v>-4i M uA                            ,




           (^(A pi^-ru^p Jq. icf Gb^&LA>< -Fn^ . i^c-^n. Ll^- <( ^rjfr-^-A j^^ ^/zb'^< wcfc
             \^t\rr^-J^"                -n/u,^L ^'J; ^.Tib. a^ cvclLu-' ^f^C^- -f^4cj                          [\        H. U+
                      AQ^-i'^-      wc^ri^kjr.

       (b) DidyoupresentGroundThreeinallappealsthatwereavailabletoyou?
       OYes              ^ffNo ClcA K.u^ K:t^K/ <<<- c<(?u^<-i<. T KI»KI (U^^rfistLftT-E ^^ft2;--^-5S^

                                                                                                                                                      Page 7 of 9
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AO^(Rev. 09/17) Petitionfora WritofHabeasCorpusUnder28U. S.C.§ 2241
       GROUNDFOUR:
                            ^-sA-
                                            ^ ^WK^Jn^ ^ c^_/^t^L<^b^^^ la ^-tl ^ >tAA^ 19^il_,^^ ir_
                    -c'u.
                                        q^u\~.          1.1^1
                                                                ru-^  tpn, \, ^«. cv-aLii-f «-1 1-^ t^- 1^ <-v                                (^</~/-Eit,    t R

                    e^ti-^-         ^u. p(?/i^hi^           (-u--i. ^fc>(A. ei^. +v^ fc^^. : .-f-(^ -k-x-^M. ^ cs^                                Ti<(u 2-

         (a) Supportingfacts (Bebrief. Donotcitecasesorlaw.):
                                    ft. l5<;r>^c$. k^^-^n^,
                                                    ^^r+ \   '). -,-
                                                                                                                                                                          -ST-4T?-
             _0^ 0(+T^> ^b^-^ tl^ fkflA^-f rUp. ^.                 Sjir^i                                                           ^".^l,,
              it<. U»i«. ><. (^ OVt _T^ ~>1{ , iCiTjO f^J/ kAT d                                                                             a.
                   l-w-M         ft ^   A      pt^e'-ti-^              +eiAfcAi
                                                                                                                                                             -^
                                                                                                     - K<-                    ^    J-b
                   ^ &-oH .t^lCe^ b^ /u^re/^ ^-</-< cf^\rr<-g<'-tz<A                                                          ^f <EC^ ^
                    f Y:-<-tid-'A ,)f-         e^    kj n.^1-^            S( KoV-        ;    <c+f       t(LS(-(f cSsk^ts^
                                                                                     4                                              /L1                        -t-fefJ
        (b) DidyoupresentGroundFourinallappealsthatwereavailabletoyou?
       ^Yes                D No

14.     Ifthereareanygroundsthatyoudidnotpresentinallappealsthatwereavailabletoyou,explainwhyyoudid
                      -1--H<^ -]i^^-R^^^^^^^^^
                   rcL^          ^(-<>/?£zur!r-
                                        1c1 "
                                                . ^^b<-^ .^xiur u^. -i r
                                                                            MP^^t




                                                                              Request for Relief
15. State exactly
          exactly what
                  what you
                       you want
                           want the
                                the court
                                    court to
                                          to do:
                                             do:                                  r. ^       ^^,. . i.,, _.if^A.
                                                                                                             ^.(, \'ft^j)rifoi
                                                                                                                   .,. .... \e^_, i .&». /,             <.    (\<i. (A   C~ KA, -*'!^^
                    ^tijs,              y^y:                                                 Lt^^r-At -^-^C , ^(cC
        'v. Lirt             ^   v^                 (j^^^jji           <S^tM-f-     ct                                             e(^^c^          b^        JI^-xU-Tdwi^rfi
  -^-ru\ 2(. ?°^ ^ ^ ^^^vr ^<cl he^ h^ 6y 0^^-^^Z^L^Z^Z^^^
   _0^-S           e^f'+-J?             'bAi-l-        -^       S-^i^      r^l^u. ^ ^Tf- c7A. o'~^^ -^/ c
                                                                                         ^-c^    \^o ,    -1   j-^, ^   ,z^   ct                     -^


   _a_L_i±&_    ^ T-/m^ or-
   _ai_J±&_I-r-/»T^             Q/^t-Li c<c<no+-
                          Ot--O/^t-13   c<c<no<-^. ^c^t^ ^ i/-^(t^ ^^^»L, ^yu, ^- ^.in^^ ^
    1\    Jt^pt L-4- of- -tte fcn^bi^      ef'i. +^ u-iin-^ de^<^ fS-rc /»>^ r'ilf e? k-rfc ^«-^ XKbj^c^-aJ; i-o
       c.^ ^TM. (^- Zf. Zo-?-^ .    Vs   CYi^Ai.4   Circk-'Kf'kn^j' eY. ifU^. o^ (M^ f^vu. l<-h. s(&, J^ A^'l. / /?(!-(-
      Un&, - , ^ct^^ , ^^- ^-^^ ^^ «^ C^-T^^^ ^-^»^. T^<r   ^^ (^<LJ- /GO'2.
                                                       <_. r,-«. (+/0-4- -^. ,(?o^'"4^-f      ( t ol-f ' t ^-i"~ r1^'-^~            ii~<_ r-'~u. (+ o
                                                                                                                                         .




       ^^^: ^^-^^^:^1^ -'^
       0, i/i^l ^h.iA. s^r H^e-
                                                                                                               r^. n-

         A>sc. ^^ < . ^^»( k^u ecr^ ^




                                                                                                                                                                           Page 8 of 9
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AO^42(Rev.09/17) Petitionfora WritofHabeasCorpusUnder28U. S. C.§ 2241

                                              Declaration Under Penalty OfPerjury
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                                                                      Signature ofAttorney or other authorized person, if any




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